Case 2:19-cr-00393-JAK Document 34 Filed 07/02/19 Pagelof5 Page ID#:99

NICOLA T. HANNA
United States Attorney
BRANDON D. FOX

Assistant United States Attorney . CLERK, US. DISTRICT COURT
Chief, Criminal Division °

VICTORIA A. DEGTYAREVA (Cal. Bar No. 284199) JUL —9 2019
Assistant United States Attorney =e
International Narcotics, Money Laundering,

and Racketeering Section pea DISTRICT OF CALIFORNIA
1400 United States Courthouse i perry
312 North Spring Street
Los Angeles, California 90012
Telephone: (213) 894-7635
Facsimile: (213) 894-0142
E-mail: victoria.degtyareva@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA SaAlc
fy =
UNITED STATES OF AMERICA, cR ¥ BR £9 -)9 3 \ 3 3
Plaintiff, GOVERNMENT’ S NOTICE OF REQUEST FOR
DETENTION

Vv.

ANTHONY LOUIS LAM,

aka “Jonny” and
“Mike, a

Defendant.

Plaintiff, United States of America, by and through its counsel
of record, hereby requests detention of defendant and gives notice of
the following material factors:

[] 1. Temporary 10-day Detention Requested (§ 3142(d)) on the
following grounds:

[] a. present offense committed while defendant was on release

pending (felony trial),

[] b. defendant is an alien not lawfully admitted for

permanent residence; and

Case 2:19-cr-00393-JAK Document 34 Filed 07/02/19 Page 2of5 Page ID #:100

LO

Cc. defendant may flee; or
d. pose a danger to another or the community.
Pretrial Detention Requested (§ 3142(e)) because no

condition or combination of conditions will reasonably

assure:
a. the appearance of the defendant as required;
b. safety of any other person and the community.

Detention Requested Pending Supervised Release/Probation
Revocation Hearing (Rules 32.1(a) (6), 46(d), and 18 U.S.C.
§ 3143 (a)):

a. defendant cannot establish by clear and convincing
evidence that he/she will not pose a danger to any
other person or to the community;

b. defendant cannot establish by clear and convincing
evidence that he/she will not flee.

Presumptions Applicable to Pretrial Detention (18 U.S.C.

§ 3142(e)):

a. Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
(46 U.S.C. App. 1901 et seq.) offense with 10-year or
greater maximum penalty (presumption of danger to
community and flight risk);

b. offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or
2332b(g) (5) (B) with 10-year or greater maximum penalty
(presumption of danger to community and flight risk);

Cc. offense involving a minor victim under 18 U.S.C.

§§ 1201, 1591, 2241, 2242, 2244(a) (1), 2245, 2251,

2251A, 2252 (a) (1)-(a) (3), 2252A (a) (1)-2252A(a) (4),

27

28

Case 2:19-cr-00393-JAK Document 34 Filed 07/02/19 Page3of5 Page ID #:101

2260, 2421, 2422, 2423 or 2425 (presumption of danger
to community and flight risk);

defendant currently charged with an offense described
in paragraph 5a - 5e below, AND defendant was
previously convicted of an offense described in
paragraph 5a - 5e below (whether Federal or
State/local), AND that previous offense was committed
while defendant was on release pending trial, AND the
current offense was committed within five years of
conviction or release from prison on the above-
described previous conviction (presumption of danger to

community) .

Xx] 5. Government Is Entitled to Detention Hearing Under § 3142 (£)

If the Case Involves:

[] a.

a crime of violence (as defined in 18 U.S.C.

§ 3156(a) (4)) or Federal crime of terrorism (as defined
in 18 U.S.C. § 2332b(g) (5) (B)) for which.maximum
sentence is 10 years’ imprisonment or more;

an offense for which maximum sentence is life
imprisonment or death;

Title 21 or MDLEA offense for which maximum sentence is
10 years’ imprisonment or more;

any felony if defendant has two or more convictions for
a crime set forth in a-c above or for an offense under
state or local law that would qualify under a, b, orc
if federal jurisdiction were present, or a combination

or such offenses;

27

28

Case 2:19-cr-00393-JAK Document 34 Filed 07/02/19 Page4of5 Page ID #:102

[| e. any felony not otherwise a crime of violence that
involves a minor victim or the possession or use of a
firearm or destructive device (as defined in 18 U.S.C.
§ 921), or any other dangerous weapon, or involves a
failure to register under 18 U.S.C. § 2250;

f. serious risk defendant will flee;

[|

g. serious risk defendant will (obstruct or attempt to
obstruct justice) or (threaten, injure, or intimidate
prospective witness or juror, or attempt to do so).

f | 6. Government requests continuance of __ days for detention

hearing under § 3142 (f) and based upon the following

reason(s):

//
//
//
//
//
//
//
//
//
//
//
//

Case 2:19-cr-00393-JAK Document 34 Filed 07/02/19 Page5of5 Page ID #:103

[| 7. Good cause for continuance in excess of three days exists in
that:
Dated: July 2, 2019 Respectfully submitted,

NICOLA T. HANNA
United States Attorney

BRANDON D. FOX
Assistant United States Attorney
Chief, Criminal Division

Lies Sly EC

VICTORIA A. DEGTYAREVA
Assistant United States Attorney

Attorneys for Plaintiff
UNITED STATES OF AMERICA

